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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION
                         _____________________________________

GEORGE ANIBOWEI,

        Plaintiff,

v.                                               Civil Action No. 3:16-CV-3495-D

LORETTA LYNCH, Attorney General of
the United States, in her official capacity,
et al.,

        Defendants.

                             JOINT SCHEDULING PROPOSAL

        After conferring in person, the parties submit the following joint scheduling

proposal per the Court’s March 13, 2017 order:

        1. Proposed Deadlines.

         (a) Deadline to join other parties: July 17, 2017

         (b) Deadline to amend pleadings: July 17, 2017

         (c) Deadline to file motions, including for summary judgment or other
         dispositive motions: March 23, 2018

         (d) Deadline to complete discovery: March 23, 2018 (and see below under item
         #2 concerning the timing of discovery in relation to Defendants’ motion to
         dismiss)

         (e) Expert deadlines: A party with the burden of proof on a claim or defense
         must designate expert witnesses and otherwise comply with the Rule 26(a)(2)
         disclosure requirements no later than January 8, 2018, with any rebuttal
         designations/disclosures due no later than February 8, 2018.




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        2. Views on the matters listed in Rule 26(f)(3)(A)-(F).

        Regarding discovery generally, this case presents certain legal issues concerning
        the scope of the government’s authority to search electronic devices carried by
        U.S. citizen travelers re-entering the country at the border. Plaintiff is a U.S.
        citizen who had his cell phone searched and contents copied at the border and who
        has also been subjected to “secondary inspection” by border officials on a number
        of occasions when returning to the country. Plaintiff seeks declaratory and
        injunctive relief regarding the government’s search authority with respect to cell
        phones at the border.

        Defendants, who are various federal agency heads or officials sued in their official
        capacity, previously filed a motion to dismiss the original complaint, which among
        other things asserted that jurisdiction is lacking and that Plaintiff fails to state any
        claim upon which relief can be granted. Plaintiff then filed a first amended
        complaint which rendered moot the motion to dismiss, but Defendants intend to
        file a renewed motion directed at the first amended complaint making similar
        arguments under Rule 12(b)(1) and (6).

        Insofar as the parties’ briefing in connection with the motion to dismiss will
        address a number of discrete legal issues concerning, inter alia, the ability of
        Plaintiff to maintain this suit and concerning the government’s border-search
        authority generally, which issues could potentially be case dispositive, the parties
        believe it would make sense to obtain a ruling on these issues before engaging in
        additional litigation, discovery, and/or motion practice. With that in mind the
        parties propose postponing any discovery until after the Court has ruled on the
        motion to dismiss.

        (A) Timing of Rule 26(a) disclosures: The parties agree that, if the first amended
        complaint is not dismissed, the parties will exchange initial disclosures within 14
        days of the ruling on Defendant’s motion to dismiss.

        (B) Subjects/timing of discovery: In addition to the above statement about
        postponing discovery pending the motion to dismiss, if the first amended
        complaint is not dismissed then the parties anticipate discovery on, inter alia,
        Plaintiff’s claims that the Fourth and First Amendments were violated by the
        search of his cell phone.

        (C) ESI issues: Parties must preserve any and all relevant electronically stored
        information pending disposition of this lawsuit.

        (D) Privilege issues: None at this time.

        (E) Changes to be made to discovery: Other than as already set forth above, none


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        at this time.

        (F) Any other orders: None at this time.

        3. Referral to a Magistrate Judge. The parties have not agreed to refer the case to

a Magistrate Judge under 28 U.S.C. § 636(c).

        4. Alternative Dispute Resolution. The parties do not believe that ADR would be

fruitful at this time. There is no claim for monetary damages in the case.

        5. Local counsel requirements. Not applicable.

        6. Certificate of interested persons. Plaintiff filed a certificate of interested

persons on December 23, 2016. (See Doc. 2.) Defendants filed a certificate of interested

persons on March 6, 2017. (See Doc. 6.)

                                         Other Matters

        Other than what has been set forth above, none at this time.




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        Respectfully submitted,

By: /s/George Anibowei                           JOHN R. PARKER
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                                                 Attorneys for Defendants

                                     Certificate of Service

        On April 10, 2017, I electronically submitted the foregoing document with the

clerk of court for the U.S. District Court, Northern District of Texas, using the electronic

case filing system of the court. I hereby certify that I have served all parties

electronically or by another manner authorized by Federal Rule of Civil Procedure

5(b)(2).

                                                   /s/ Brian W. Stoltz
                                                   Brian W. Stoltz
                                                   Assistant United States Attorney




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